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              SCHEDULE A
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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, 133 Stat. 13, which appropriated the funds that shall be used

for the taking.
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              SCHEDULE B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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              SCHEDULE C
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                                     SCHEDULE C

                                 LEGAL DESCRIPTION

                                   Starr County, Texas

Tract: RGV-RGC-1003 & 1005
Owner: Heirs of Juan Antonio Silva, et al.
Acres: 3.392

TRACT: RGV-RGC-1003

Being a 1.939 acre (84,453 square feet) parcel of land, more or less, being out of the Lazaro
Vela Survey, Abstract No. 354, Porción 57, Starr County, Texas, and being out of a called
29.79 acre tract conveyed to the Heirs of Juan Antonio Silva, including but not limited to
Lucila Silva Cantu, Lilia Silva de la Garza, Idalia Paula, Silva Ruiz and Eloy Silva by Final
Decree of Partition recorded in Instrument No. 2019-353318, Official Records of Starr
County, Texas (Parcel 9-B), said parcel of land being more particularly described by metes
and bounds as follows;
Commencing at a found 1/2” rebar at a southerly interior corner of Parcel 9-B and the
north corner of a called 17.73 acre tract recorded in Volume 1, Page 112, Map Records
of Starr County, Texas (Parcel S-14-R), being the same tract of land conveyed to Alfredo
Garcia, Alberto Garcia, Amador Garcia and Juana G. Talamante by Deed of Gift recorded
in Volume 478, Page 664, Deed Records of Starr County, Texas, being the same tract of
land conveyed to Maria Selfa Garcia Ramirez, Elmina Garcia Montes, Elda Garcia
Ramos and Eleazar Garcia Garica by Warranty Deed recorded in Volume 538, Page 324,
Official Records of Starr County, Texas (Tract No. 3), being the same tract of land
conveyed to Luis Alberto Garcia, Hernan Garcia and Sergio Garcia by Last Will and
Testament of Adamina G. Garcia recorded in Volume 1530, Page 236, Official Records
of Starr County, Texas (Cause No. 18228), and being the same tract of land conveyed to
Pablo Martinez, Jr. by Surface Warranty Deed recorded in Instrument No.
2018-343743, Official Records of Starr County, Texas, said point being in the southeast
line of Porción 57 and the northwest line of Porción 58, said point having the coordinates
of N=16722631.855, E=768813.180, said point bears N 73°05’53” W, a distance of
6508.81’ from United States Army Corps of Engineers Control Point No. 142;
Thence: S 54°33’15” W, with a southeasterly line of Parcel 9-B, the northwest line of
the 17.73 acre tract, the southeast line of Porción 57 and the northwest line of Porción
58, for a distance of 455.94’ to a set 5/8” rebar with a “MDS” aluminum disk capped
survey marker stamped with the following description: “RGV-RGC-1003-1=1004-1” for
the Point of Beginning and east corner of Tract RGV-RGC-1003, said point being in a
southeasterly line of Parcel 9-B, the northwest line of the 17.73 acre tract, the southeast
line of Porción 57 and the northwest line of Porción 58, said point having the coordinates
of N=16722367.443, E=768441.745;
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                                 SCHEDULE C (Cont.)

Thence: S 54°33’15” W, continuing with a southeasterly line of Parcel 9-B, the northwest
line of the 17.73 acre tract, the southeast line of Porción 57 and the northwest line of
Porción 58, for a distance of 231.66’ to a set 5/8” rebar with an MDS LAND SURVEYING
aluminum disk capped survey marker stamped with the following description: “RGV-
RGC-1003-2=1004-4” for the south corner of Tract RGV-RGC-1003, said point being in
a southeasterly line of Parcel 9-B, the northwest line of the 17.73 acre tract, the southeast
line of Porción 57 and the northwest line of Porción 58;

Thence: N 65°45’12” W, departing the northwest line of the 17.73 acre tract, and the
northwest line of Porción 58, over and across Parcel 9-B, for a distance of 421.86’ to a set
5/8” rebar with an MDS LAND SURVEYING aluminum disk capped survey marker
stamped with the following description: “RGV-RGC-1003-3=1042-2” for the west corner
of Tract RGV-RGC-1003, said point being in the northwest line of Parcel 9-B and the
southeast line of a called 52.44 acre tract conveyed to Legacy Advance Development
Partners, LTD. by Special Warranty Deed recorded in Volume 1076, Page 766, Official
Records of Starr County, Texas (Tract III(B));
Thence: N 54°22’47” E, with the northwest line of Parcel 9-B and the southeast line of
the 52.44 acre tract, for a distance of 231.25’ to a set 5/8” rebar with an MDS LAND
SURVEYING aluminum disk capped survey marker stamped with the following
description: “RGV-RGC- 1003-4=1042-1” for the north corner of Tract RGV-RGC-
1003, said point being in the northwest line of Parcel 9-B and the southeast line of the
52.44 acre tract;
Thence: S 65°45’12” E, departing the southeast line of the 52.44 acre tract, over and
across Parcel 9-B, for a distance of 422.67’ to the Point of Beginning.
Note: All bearings, distances and coordinates are referenced to the Texas State Plane
Coordinate System, South Zone grid (SPCS 4205) NAD’83. Values may be converted to
ground values using a combined scale factor of 1.000040000.
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                                     SCHEDULE C

                                LEGAL DESCRIPTION

                                   Starr County, Texas

Tract: RGV-RGC-1003 & 1005
Owner: Heirs of Juan Antonio Silva, et al.
Acres: 3.392

TRACT: RGV-RGC-1005

Being a 1.453 acre (63,306 square feet) parcel of land, more or less, being out of the
Joaquin Chapa Survey, Abstract No. 289, Porción 58, Starr County, Texas, and being out
of a called 29.79 acre tract conveyed to the Heirs of Juan Antonio Silva, including but not
limited to Lucila Silva Cantu, Lilia Silva de la Garza, Idalia Paula, Silva Ruiz and Eloy
Silva by Final Decree of Partition recorded in Instrument No. 2019-353318, Official
Records of Starr County, Texas (Parcel 9-B), said parcel of land being more particularly
described by metes and bounds as follows;
Commencing at a set 5/8” rebar with a “MDS” aluminum disk capped survey marker
stamped with the following description: “POC RGV-RGC-1005 1007”, said point being
in the southeast line of Parcel 9-B, said point being at the northeast corner of a called
29.79 acre tract conveyed to the Heirs of Juana Silva Gomez, including but not limited
to, Aida Gomez Mink, Alberto Gomez, Jr., Ana Aminta Gomez Hill and Alonzo Gomez
by Final Decree of Partition recorded in Instrument No. 2019-353318, Official Records
of Starr County, Texas (Parcel 6-B) and the west corner of a called 34.38 acre tract
recorded in Volume 1, Page 112, Map Records of Starr County, Texas (Parcel S-14-Q),
being the same tract of land conveyed to Victor Vela, et al by Declaration of Taking
recorded in Volume 262, Page 12, Deed Records of Starr County, Texas, being the same
tract of land conveyed to Arnoldo Vela, et ux by Warranty Deed recorded in Volume 400,
Page 467 and Volume 432, Page 559, Deed Records of Starr County, Texas, being the
same tract of land conveyed to Francisca R. Vela, et al by Warranty Deed recorded in
Volume 432, Page 562, Deed Records of Starr County, Texas, being the same tract of
land conveyed to Aida Mink, et al by Warranty Deed recorded in Volume 438, Page 919,
Deed Records of Starr County, Texas, being the same tract of land conveyed to Ortofilia
Vela, et al by Deed of Gift recorded in Volume 445, Page 437, Deed Records of Starr
County, Texas, being the same tract of land conveyed to Oralia Vela Rojas, et al by
Warranty Deed recorded in Volume 649, Page 230, Official Records of Starr County,
Texas, being the same tract of land conveyed to Florentino Luera by Warranty Deed
recorded in Volume 822, Page 642, Official Records of Starr County, Texas, being the
same tract of land conveyed to Belinda Olveda Huerto, et al by Heirship Affidavit
recorded in Volume 934, Page 177, Official Records of Starr County, Texas, being the
same tract of land conveyed to Oralia Vela Rojas by Warranty Deed recorded in Volume
934, Page 796, Volume 934, Page 797, Volume 934, Page 798, and Volume 938, Page
864, Official Records of Starr County, Texas, being the same tract of land conveyed to
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                                  SCHEDULE C (Cont.)


Manuel Jose Barrera, et al by Affidavit of Death and Heirship recorded in Volume 1064,
Page 697, Official Records of Starr County, Texas, and being the same tract of land
conveyed to Bernard Patrick Donohoe, et al by Last Will and Testament recorded in
Volume 1075, Page 194, Official Records of Starr County, Texas, said point having the
coordinates of N=16721595.733, E=768435.744, said point bears N 82°36’50” W, a
distance of 6660.35’ from United States Army Corps of Engineers Control Point No. 142;
Thence: N 53°43'00" E (S 55°06'00" W, Record), with the southeast line of Parcel 9-B
and the northwest line of the 34.38 acre tract, for a distance of 581.31’ to a set 5/8” rebar
with a “MDS” aluminum disk capped survey marker stamped with the following
description: “RGV-RGC- 1005-1=1007-1” for the Point of Beginning and south corner
of Tract RGV-RGC-1005, said point being in the southeast line of Parcel 9-B and the
northwest line of the 34.38 acre tract, said point having the coordinates of
N=16721939.742, E=768904.341;

Thence: N 65°45'12" W, departing the northwest line of the 34.38 acre tract, over and
across Parcel 9-B, for a distance of 320.71’ to a set 5/8” rebar with a “MDS” aluminum
disk capped survey marker stamped with the following description: “RGV-RGC-1004-
3=1005-2” for the west corner of Tract RGV-RGC-1005, said point being in a
northwesterly line of Parcel 9-B and the southeast line of a called 17.73 acre tract recorded
in Volume 1, Page 112, Map Records of Starr County, Texas (Parcel S-14-R), being the
same tract of land conveyed to Alfredo Garcia, Alberto Garcia, Amador Garcia and Juana
G. Talamante by Deed of Gift recorded in Volume 478, Page 664, Deed Records of Starr
County, Texas, being the same tract of land conveyed to Maria Selfa Garcia Ramirez,
Elmina Garcia Montes, Elda Garcia Ramos and Eleazar Garcia Garica by Warranty Deed
recorded in Volume 538, Page 324, Official Records of Starr County, Texas (Tract No. 3),
being the same tract of land conveyed to Luis Alberto Garcia, Hernan Garcia and Sergio
Garcia by Last Will and Testament of Adamina G. Garcia recorded in Volume 1530, Page
236, Official Records of Starr County, Texas (Cause No. 18228), and being the same tract
of land conveyed to Pablo Martinez, Jr. by Surface Warranty Deed recorded in Instrument
No. 2018-343743, Official Records of Starr County, Texas;

Thence: N 55°30'00" E (S 55°00'00" W, Record), with the northwesterly line of Parcel 9-
B and the southeast line of the 17.73 acre tract, for a distance of 233.95’ to a set 5/8” rebar
with a “MDS” aluminum disk capped survey marker stamped with the following
description: “RGV- RGC-1004-2=1005-3” for the north corner of Tract RGV-RGC-1005,
said point being in a northwesterly line of Parcel 9-B and the southeast line of the 17.73
acre tract;
Thence: S 65°45'12" E, departing the southeast line of the 17.73 acre tract, over and
across Parcel 9-B, for a distance of 312.35’ to a set 5/8” rebar with a “MDS” aluminum
disk capped survey marker stamped with the following description: “RGV-RGC-1005-
4=1007-2” for the east corner of Tract RGV-RGC-1005, said point being in the southeast
line of Parcel 9-B and the northwest line of the 34.38 acre tract;
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                                     SCHEDULE C


Thence: S 53°43'00" W (S 55°06'00" W, Record), with the southeast line of Parcel 9-B
and the northwest line of the 34.38 acre tract, for a distance of 229.72’ to the Point of
Beginning.

Note: All bearings, distances and coordinates are referenced to the Texas State Plane
Coordinate System, South Zone grid (SPCS 4205) NAD’83. Values may be converted to
ground values using a combined scale factor of 1.000040000.
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               SCHEDULE D
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                                    SCHEDULE D

                                    MAP or PLAT

                            LAND TO BE CONDEMNED




Tract: RGV-RGC-1003
Owner: Heirs of Juan Antonio Silva, et al.
Acres: 3.392
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                         SCHEDULE D (Cont.)
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                         SCHEDULE D (Cont.)
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                         SCHEDULE D (Cont.)
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                                    SCHEDULE D

                                    MAP or PLAT

                            LAND TO BE CONDEMNED




Tract: RGV-RGC-1005
Owner: Heirs of Juan Antonio Silva, et al.
Acres: 3.392
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                         SCHEDULE D (Cont.)
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                         SCHEDULE D (Cont.)
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                         SCHEDULE D (Cont.)
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               SCHEDULE E
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                                       SCHEDULE E

                                     ESTATE TAKEN

                                     Starr County, Texas

Tract: RGV-RGC-1003 & 1005
Owner: Heirs of Juan Antonio Silva, et al.
Acres: 3.392

Tract: RGV-RGC-1003

       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;
       Reserving to the owners of the land identified as Lazaro Vela Survey, abstract
number 354, Porción 57, Starr County, Texas, and identified in Final Decree of Partition,
instrument number 2019-353318, Official Records of Starr County, Texas, (Parcel 9-B),
reasonable access to and from the owners’ lands lying between the Rio Grande River and
the border barrier through opening(s) or gate(s) in the border barrier between the
westernmost mark labeled “Beginning” and easternmost mark labeled “Ending” depicted
on the map below;
       Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights
or systems are subordinated to the United States’ construction, operation and
maintenance of the border barrier.
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                                  SCHEDULE E (Cont.)

                                     ESTATE TAKEN

                                    Starr County, Texas

Tract: RGV-RGC-1003 & 1005
Owner: Heirs of Juan Antonio Silva, et al.
Acres: 3.392


Tract: RGV-RGC-1005


       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;
       Reserving to the owners of the land identified as Lazaro Vela Survey, abstract
number 354, Porción 57, Starr County, Texas, and identified in Final Decree of Partition,
instrument number 2019-353318, Official Records of Starr County, Texas, (Parcel 9-B),
reasonable access to and from the owners’ lands lying between the Rio Grande River and
the border barrier through opening(s) or gate(s) in the border barrier between the
westernmost mark labeled “Beginning” and easternmost mark labeled “Ending” depicted
on the map below;
       Excepting and excluding all interests water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from water rights or
systems are subordinated to the United States’ construction, operation and maintenance of
the border barrier.
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                         SCHEDULE E (Cont.)
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               SCHEDULE F
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                                     SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



   The sum estimated as just compensation for the lands being taken is NINETEEN

THOUSAND, FIVE HUNDRED AND NINETY ONE DOLLARS AND NO/100

($19,591.00), to be deposited herewith in the Registry of the Court for the use and benefit

of the persons entitled thereto.

TRACT RGV-RGC-1003:
The sum estimated as just compensation for the land acquired is NINE
THOUSAND SEVEN HUNDRED NINETY FIVE DOLLARS AND 50/100
($9,795.50).


TRACT RGV-RGC-1005:
The sum estimated as just compensation for the land acquired is NINE
THOUSAND SEVEN HUNDRED NINETY FIVE DOLLARS AND 50/100
($9,795.50).
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               SCHEDULE G
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